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 6   Attorney for Plaintiff,
     TOM SCHIRMACHER
 7
 8                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
     TOM SCHIRMACHER,                                        '24CV0310 MMA MSB
                                                    Case No. _____________________
10
                               Plaintiff,           COMPLAINT
11
12   v.                                             DEMAND FOR JURY TRIAL

13   MED-AESTHETIC SOLUTIONS, INC.
     d/b/a SALTMED and DOES 1 through 10
14   inclusive,
15                             Defendants.
16
17
           Plaintiff, Tom Schirmacher, by and through his undersigned counsel, brings
18
     this Complaint against Defendant Med-Aesthetic Solutions, Inc. d/b/a SaltMED and
19
     DOES 1 through 10, inclusive, and alleges as follows:
20
                                 NATURE OF THE ACTION
21
           1.    This is a civil action seeking damages and injunctive relief for copyright
22
     infringement and falsification of copyright management information under the
23
     Copyright Act of the United States, 17 U.S.C. § 101, et seq. and 17 U.S.C. § 1202.
24
                                             PARTIES
25
           2.    Plaintiff Tom Schirmacher (“Schirmacher”) is an individual and
26
     professional photographer residing in New York.
27
     ///
28

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            3.     Upon information and belief, Defendant Med-Aesthetic Solutions, Inc.
 1
     (“SaltMED”) is a corporation duly organized and existing under the laws of the State
 2
     of California with a place of business at 206 Birmingham Drive, Cardiff, California
 3
     92007.
 4
            4.     The true names and capacities of Defendants Does 1 through 10, are
 5
     presently unknown to Plaintiff, and for that reason, Plaintiff sues them by such
 6
     fictitious names. Plaintiff is informed and believes that each of the fictitiously-named
 7
     defendants is responsible in some capacity for the occurrences herein alleged, and on
 8
     that basis, believes damages as herein alleged were proximately caused by the
 9
     conduct of Does 1 through 10, inclusive. Plaintiff will seek to amend this complaint
10
     when the true names and capacities of Does 1 through 10, inclusive, are ascertained.
11
            5.     For the purposes of this Complaint, unless otherwise indicated,
12
     “Defendant” includes all agents, employees, officers, members, directors, heirs,
13
14   successors, assigns, principals, trustees, sureties, subrogates, representatives, and

15   insurers of Defendant named in this caption.

16                              JURISDICTION AND VENUE

17          6.     This Court has original subject matter jurisdiction over copyright claims

18   pursuant to 28 U.S.C. §§ 1331 (federal question) and 1338(a) (copyrights).

19          7.     This court has personal jurisdiction over Defendant because Defendant

20   has a physical presence in the State of California, and/or it transacts business in the

21   State of California.

22          8.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)-

23   (d) and/or § 1400(a) in that this is the judicial district in which a substantial part of

24   the acts and omissions giving rise to the claims occurred, and/or this civil action

25   arises under the Copyright Act of the United States and Defendant or its agent resides

26   in or can be found in this judicial district.

27   ///

28   ///


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                                FACTUAL ALLEGATIONS
 1
                                      Tom Schirmacher
 2
           9.     Tom Schirmacher (“Schirmacher”) is an American photographer,
 3
     director, and cinematographer.
 4
           10.    Schirmacher’s obsession with photography started at fifteen years old
 5
     and has been his focus ever since. Today, he finds himself at the forefront of the
 6
     intersection between the film world and still photography, seamlessly transitioning
 7
     from one medium to the other, navigating an ever-changing media landscape.
 8
           11.    After beginning his own career at twenty-five years old, Schirmacher’s
 9
     aesthetic became defined by simplicity, ease, and beautiful light. His work strives to
10
     create genuine and authentic moments that resonate with a viewer.
11
           12.    Schirmacher’s clients include recognizable brands such as La Mer,
12
     Origins, Gap, Fossil, Neiman Marcus, Aveda, Tommy Hilfiger, Swarovski, David
13
14   Yurman, Estee Lauder, Cle De Peau, and Bergdorf Goodman.

15         13.    Schirmacher licenses his work for a fee.

16         14.    Schirmacher’s livelihood depends on receiving compensation for the

17   photographs he produces.

18         15.    Schirmacher is the sole author and exclusive rights holder to two

19   photographs of a female model with grains of salt on her face: one photograph of the

20   model with her eyes open (“Photograph 1”) and one photograph of the model with

21   her eyes closed (“Photograph 2”) (collectively, the “Photographs”).

22         16.    Attached hereto as Exhibit A are true and correct copies of the

23   Photographs.

24         17.    Schirmacher registered the Photographs with the United States

25   Copyright Office under Registration Number VA 2-243-948 with an effective date

26   of March 16, 2021.

27                                    Defendant SaltMED

28         18.    Upon information and belief, SaltMED is the owner and operator of the
     website https://saltmed.com/ (“SaltMed Website”).
                                               3
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           19.    According to the SaltMED website, SaltMED creates innovative and
 1
     medial aesthetic treatments and solutions for patients and practitioners worldwide.
 2
     See https://saltmed.com/about/.
 3
           20.    SaltMED developed The SaltFacial® skin rejuvenation device and
 4
     launched and delivered the first SaltFacial® system in January 2017 (“SaltFacial®
 5
     System”). Id.
 6
           21.    Med-Aesthetic Solutions, Inc. owns the trademark “SaltFacial” under
 7
     U.S. Registration No. 6039576 (“SaltMed Trademark”).
 8
           22.    SaltMED maintains an Instagram account under the handle
 9
     @thesaltfacial at https://www.instagram.com/thesaltfacial/ (“SaltMED Instagram
10
     Account”).
11
           23.    SaltMED        maintains        a      Facebook        account       at
12
     https://www.facebook.com/thesaltfacial (“SaltMED Facebook Account”).
13
14         24.    Collectively, the SaltMED Instagram Account and SaltMED Facebook

15   Account will be referred to as the “SaltMED Social Media Accounts.”

16         25.    At all relevant times, the SaltMED Social Media Accounts were readily

17   accessible to the general public throughout California, the United States, and the

18   world.

19         26.    Upon information and belief, SaltMED generates content on the

20   SaltMED Website and SaltMED Social Media Accounts to attract user traffic; market

21   and promote its products and services; and increase its customer base and revenue

22   for the company.

23         27.    At all relevant times, SaltMED had the ability to supervise and control

24   all content on the SaltMED Social Media Accounts.

25                   SaltMED’s Unauthorized Use of the Photographs

26                                       Instagram

27         28.    On or about February 23, 2021, Schirmacher discovered Photograph 1

28   being used by SaltMED on the SaltMED Instagram Account in a post for the
     SaltFacial® System advertising “Tired of dry and dull skin? The SaltFacial® gives
                                              4
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     your skin the glow you’ve been dreaming of by gently resurfacing your skin with
 1
     natural sea salt to help remove any dead skin cells while unleashing its natural glow.”
 2
     (“SaltMED Instagram Post 1”).
 3
           29.    Photograph 1, as used in the SaltMED Instagram Post 1, included the
 4
     SaltMed Trademark superimposed on the bottom left corner of Photograph 1.
 5
           30.    On or about February 23, 2021, Schirmacher discovered Photograph 1
 6
     being used by SaltMED on the SaltMED Instagram Account in a post for the
 7
     SaltFacial® System advertising “We ❤ Salt. For powerful, all-natural skin
 8
 9   resurfacing, nothing else comes close.” (“SaltMED Instagram Post 2”).

10         31.    Photograph 1, as used in the SaltMED Instagram Post 2, included the

11   SaltMed Trademark superimposed on the bottom right corner of Photograph 1.

12         32.    On or about February 23, 2021, Schirmacher discovered Photograph 1

13   being used by SaltMED on the SaltMED Instagram Account in a post for the

14   SaltFacial® System advertising “The SaltFacial: Restore. Replenish. Rejuvenate.”

15   and directing its Instagram users to “Find out more this Friday, October 13th when

16   Dr. Elmer demonstrates the SaltFacial on CBS.” (“SaltMED Instagram Post 3”).

17         33.    On or about February 23, 2021, Schirmacher discovered Photograph 2

18   being used by SaltMED on the SaltMED Instagram Account in a post for the

19   SaltFacial System advertising “Nothing quire compares to the power of all-natural

20   sea salt! With The The SaltFacial®, you can release your skin’s natural glow with

21   the help of sea salt exfoliation, aesthetic ultrasound, and LED phototherapy.”

22   (“SaltMED Instagram Post 4”).

23         34.    Photograph 2, as used in the SaltMED Instagram Post 4, included the

24   SaltMed Trademark superimposed on the bottom left corner of Photograph 2.

25         35.    Collectively, the SaltMED Glow Instagram Post 1, SaltMED Instagram

26   Post 2, SaltMED Instagram Post 3, and SaltMED Instagram Post 4 will be referred

27   to as the “SaltMed Instagram Posts.”

28   ///


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           36.   Attached as Exhibit B are true and correct screenshots of the SaltMed
 1
     Instagram Posts.
 2
                                          Facebook
 3
           37.   On or about February 23, 2021, Schirmacher discovered Photograph 1
 4
     being used by SaltMED on the SaltMED Facebook Account in a post for the
 5
     SaltFacial® System advertising “We ❤ Salt. For powerful, all-natural skin
 6
 7   resurfacing, nothing else comes close.” (“SaltMED Facebook Post 1”).

 8         38.   Photograph 1, as used in the SaltMED Facebook Post 1, included the

 9   SaltMed Trademark superimposed on the bottom right corner of Photograph 1.

10         39.   On or about October 9, 2022 Schirmacher discovered Photograph 1

11   being used by SaltMED on the SaltMED Facebook Account in a post for the

12   SaltFacial® System advertising “The SaltFacial: Restore. Replenish. Rejuvenate.”

13   and directing its Instagram users to “Find out more this Friday, October 13th when

14   Dr. Elmer demonstrates the SaltFacial on CBS.” (“SaltMED Facebook Post 2”).

15         40.   On or about October 9, 2022 Schirmacher discovered Photograph 1

16   being used by SaltMED on the SaltMED Facebook Account in a post for the

17   SaltFacial® System advertising “We ❤ Salt. It’s kind of our thing.” (“SaltMED

18   Facebook Post 3”).

19         41.   Photograph 1, as used in the SaltMED Facebook Post 3, included the

20   SaltMED Trademark superimposed on the bottom right corner of Photograph 1.

21         42.   Collectively, the SaltMED Glow Facebook Post 1, SaltMED Facebook
22   Post 2, and SaltMED Facebook Post 3 will be referred to as the “SaltMed Facebook
23   Posts.”
24         43.   Attached as Exhibit C are true and correct screenshots of the SaltMed
25   Facebook Posts.
26         44.   Collectively, the SaltMed Instagram Posts and SaltMed Facebook Posts
27   will be referred to as the SaltMed Social Media Posts.
28   ///

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           45.    Schirmacher does not have a record of the Photographs being licensed
 1
     to Defendant nor did Schirmacher grant Defendant permission or authorization to
 2
     use, make a copy of, or publicly display the Photographs on the Social Media
 3
     accounts or in the SaltMed Social Media Posts with or without the SaltMED
 4
     Trademark.
 5
           46.    Schirmacher is informed and believes Defendant (including its
 6
     employees, agents, contractors or others over whom it has responsibility and control)
 7
     created an unauthorized copy of the Photographs and caused the Photographs to be
 8
     uploaded to and displayed on the SaltMed Social Media Accounts.
 9
           47.    Schirmacher is informed and believes that the purpose of the use of the
10
     Photographs on the SaltMed Social Media Accounts was to provide high-quality and
11
     aesthetically pleasing content congruent with SaltMed’s marketing goals.
12
           48.    Schirmacher is informed and believes that the purpose of the use of the
13
14   Photographs in the SaltMed Social Media Posts was to promote and encourage sales

15   of the SaltFacial® System by providing a high-quality, professionally-produced

16   photograph to assist the viewer in visualizing the process created through the

17   SaltFacial® System.

18         49.    Schirmacher is informed and believes Defendant (including its

19   employees, agents, contractors or others over whom it has responsibility and control)

20   used, displayed, published, and otherwise held out to the public Schirmacher’s

21   original and unique Photographs for commercial benefit in order to acquire a direct

22   financial benefit, through revenue from the sales of the SaltFacial® System, from the

23   use of the Photographs.

24         50.    Upon information and belief, Defendant’s use of the Photographs is

25   willful because inter alia, Defendant knew, or should have known, it did not have

26   permission or a legitimate license to use the Photographs on the SaltMed Social

27   Media Accounts.

28   ///


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           51.     After discovering the unauthorized use of the Photographs,
 1
     Schirmacher’s agent and Schirmacher’s counsel sent cease and desist correspondence
 2
     to Defendant and communicated with Defendant’s counsel from November of 2022
 3
     through July 2023 in an attempt to resolve this matter.
 4
                              FIRST CAUSE OF ACTION
 5
                             COPYRIGHT INFRINGEMENT
 6                               17 U.S.C. § 101, et seq.
 7         52.     Schirmacher incorporates by reference all of the above paragraphs of
 8   this Complaint as though fully stated herein.
 9         53.     Schirmacher owns valid copyrights in the Photographs.
10         54.     Schirmacher registered the photographs with the Register of Copyrights
11   pursuant to 17 U.S.C. § 411(a).
12         55.     Defendant (including its employees, agents, contractors or others over
13   whom it has responsibility and control) created an unauthorized copy of the
14   Photograph and displayed Schirmacher’s unique and original Photographs without
15   Schirmacher’s consent or authorization in violation of 17 U.S.C. § 501.
16         56.     As a result of SaltMED’s violations of Title 17 of the U.S. Code,
17   Schirmacher have sustained significant injury and irreparable harm.
18         57.     As a result of SaltMED’s violations of Title 17 of the U.S. Code,
19   Schirmacher     is entitled to any actual damages and profits attributable to the
20   infringement pursuant to 17 U.S.C. § 504(b).
21         58.     As a result of SaltMED s violation of Title 17 of the U.S. Code, the
22   Court, in its discretion, may allow the recovery of full costs from SaltMED as part
23   of the costs pursuant to 17 U.S.C § 505.
24                      SECOND CAUSE OF ACTION
25     FALSIFICATION OF COPYRIGHT MANAGEMENT INFORMATION
                                 17 U.S.C. § 1202
26       59. Schirmacher incorporates by reference all of the above paragraphs of
27   this Complaint as though fully stated herein.
28   ///

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           60.    SaltMED (including its employees, agents, contractors or others over
 1
     whom it has responsibility and control) knowingly and intentionally falsified,
 2
     copyright management information related to the Photographs with the intent to
 3
     induce, enable, facilitate, or conceal its infringement of the Photographs.
 4
           61.    Specifically, SaltMED made unauthorized copies of the Photographs,
 5
     and knowing it was not the rightful copyright owner of the Photographs, SaltMED
 6
     added its own trademark, SaltFacial, to the Photographs before incorporating the
 7
     Photographs in the SaltMED Social Media Posts on the SaltMED Social Media
 8
     Accounts.
 9
           62.    SaltMED’s conduct was knowing and intentional because SaltMED
10
     knew that it was not the copyright owner of the Photographs; SaltMED knew it had
11
     not licensed the Photographs for use on the SaltMED Social Media Accounts; and
12
     SaltMED knew it did not have consent to use the Photographs for use on the SaltMED
13
14   Social Media Accounts.

15         63.    SaltMED intended to enable and conceal its infringement by using its

16   own trademark, SaltFacial, to mislead the public to believe that SaltMED was the

17   rightful copyright owner of the Photographs.

18         64.    Defendant’s conduct constitutes a violation of 17 U.S.C. § 1202(a).

19         65.    As a result of SaltMED’s violations of 17 U.S.C. § 1202(a),

20   Schirmacher has sustained significant injury and irreparable harm.

21         66.    As a result of SaltMED’s violation of 17 U.S.C. § 1202(a),

22   Schirmacher is entitled to any actual damages and profits attributable to the violation

23   of 17 U.S.C. § 1202(a), or in the alternative, Schirmacher may elect to recover

24   statutory damages pursuant to 17 U.S.C. § 1203(c)(3) in a sum of not more than

25   $25,000 for each violation of 17 U.S.C. § 1202(a).

26   ///

27   ///

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                                   PRAYER FOR RELIEF
  1
      WHEREFORE, Schirmacher prays for judgment against SaltMED as follows:
  2
         • For a finding that SaltMED infringed Schirmacher’s copyright interest in
  3
            Schirmacher’s Photographs by copying, displaying, and distributing the
  4
            Photographs without a license or consent;
  5
  6      • For an award of actual damages and disgorgement of all profits attributable to

  7         the infringements as provided by 17 U.S.C. §504(b) in an amount to be proven;

  8      • For a finding that SaltMED knowingly provided false copyright management

  9         information on the Photographs with the intent to induce, enable, facilitate, or

 10         conceal infringement of the Photographs, pursuant to 17 U.S.C. § 1202(a);

 11      • For an award of statutory damages for each violation of § 1202(a), in a sum of
 12         not   less   than    $2,500    or    more     than    $25,000,     pursuant   to
 13         17 U.S.C. § 1203(c)(3)(B);
 14      • For costs of litigation pursuant to 17 U.S.C. § 505 and § 1203(b)(4);
 15      • For reasonable attorney’s fees pursuant to 17 U.S.C. § 1203(b)(3);
 16      • For pre judgment and post judgment interest as permitted by law; and
 17      • For any other relief the Court deems just and proper.
 18
 19   Dated: February 16, 2024                       Respectfully submitted,
 20                                                  /s/ Mathew K. Higbee
                                                     Mathew K. Higbee, Esq.
 21                                                  California Bar No. 241380
 22                                                  HIGBEE & ASSOCIATES
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                                                     Attorney for Plaintiff
 26
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                                 DEMAND FOR JURY TRIAL
  1
  2         Plaintiff, Tom Schirmacher , hereby demands a trial by jury in the above matter.

  3
  4   Dated: February 16, 2024                       Respectfully submitted,
  5                                                  /s/ Mathew K. Higbee
                                                     Mathew K. Higbee, Esq.
  6                                                  California Bar No. 241380
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